         Case 2:24-cv-00382-GMN-MDC              Document 1      Filed 02/26/24   Page 1 of 51




 1    NICHOLAS J. SANTORO
      (Nevada Bar No. 532)
 2    JASON D. SMITH
      (Nevada Bar No. 9691)
 3    HOLLEY DRIGGS LTD
      300 South 4th Street, Suite 1600
 4    Las Vegas, Nevada 89101
      Tel.: (702) 791-0308
 5    Email: nsantoro@nevadafirm.com
              jsmith@nevadafirm.com
 6
      PETER A. SWANSON                                  ZIWEI SONG
 7    (pro hac vice forthcoming)                        (pro hac vice forthcoming)
      GARY M. RUBMAN                                    COVINGTON & BURLING LLP
 8    (pro hac vice forthcoming)                        Salesforce Tower
      SIMEON BOTWINICK                                  415 Mission Street, Suite 5400
 9    (pro hac vice forthcoming)                        San Francisco, CA 94105-2533
      COVINGTON & BURLING LLP                           Tel.: (415) 591-6000
10    One CityCenter                                    Email: ksong@cov.com
      850 Tenth Street, NW
11    Washington, DC 20001
      Tel.: (202) 662-6000
12    Email: pswanson@cov.com
              grubman@cov.com
13            sbotwinick@cov.com

14   Attorneys for Plaintiffs Aristocrat Technologies, Inc.
     and Aristocrat Technologies Australia Pty Ltd.
15
                                  UNITED STATES DISTRICT COURT
16
                                        DISTRICT OF NEVADA
17
     ARISTOCRAT TECHNOLOGIES, INC. and
18   ARISTOCRAT TECHNOLOGIES                             Civil Case No.:
     AUSTRALIA PTY LTD.,
19
                    Plaintiffs,                          COMPLAINT
20
            v.
21                                                       JURY DEMAND
     LIGHT & WONDER, INC., LNW GAMING,
22   INC., and SCIPLAY CORPORATION,
23                  Defendants.
24

25

26

27

28
         Case 2:24-cv-00382-GMN-MDC              Document 1        Filed 02/26/24      Page 2 of 51




 1                  Aristocrat Technologies, Inc. and Aristocrat Technologies Australia Pty Ltd.
 2   (together, “Aristocrat”) bring this complaint for trade secret misappropriation, copyright
 3   infringement, trade dress infringement and unfair competition, and deceptive trade practices, with
 4   a request for monetary damages, an injunction, and other relief, against Defendants Light &
 5   Wonder, Inc., LNW Gaming, Inc., and SciPlay Corporation (together, “L&W”). Aristocrat alleges
 6   as follows:
 7                                          INTRODUCTION
 8                  1.      Aristocrat brings this complaint to stop L&W from free-riding on the
 9   significant time, effort, and creativity Aristocrat has devoted over many years to developing
10   innovative and award-winning games that bring joy to players around the world.
11                  2.      Aristocrat makes, markets, sells, and leases electronic gaming machines
12   (“EGMs”). One of its most successful games—in Nevada and worldwide—is Dragon Link.
13   Dragon Link combines innovative and exciting game mechanics, which operate based on complex
14   math models implemented at the code level to create a uniquely compelling player experience,
15   with visually striking imagery and audiovisual effects—centered around an Asian theme—that
16   consumers have come to associate with Dragon Link and Aristocrat.
17                  3.      Aristocrat has invested substantial time, effort, and creativity in developing
18   and popularizing the gameplay, imagery, audiovisual effects, and logos of Dragon Link and its
19   predecessor, Lightning Link, which is also one of the most popular games in the world.
20                  4.      Aristocrat owns trade secrets relating to the development and operation of
21   the game mechanics for Dragon Link and Lightning Link, including the underlying math and
22   implementing source code. In addition to the substantial time, effort, and resources that went into
23   its development, the game math for Dragon Link and Lightning Link is the product of significant
24   creativity and innovation, and the continued success of both games many years after their initial
25   release demonstrates that the math is unique, difficult (if not impossible) for others to replicate,
26   and highly valuable.
27                  5.      Aristocrat also owns copyrights in Dragon Link’s original artwork,
28   animations, and sounds, which help make Dragon Link unique and easily identifiable to

                                                      1
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24     Page 3 of 51




 1   consumers. In addition, the imagery, effects, logos, and arrangement of game elements create a
 2   unique look and feel for Dragon Link that has been very successful in making strong, positive
 3   impressions with consumers.
 4                  6.     Unwilling (or unable) to compete fairly with Aristocrat, L&W has engaged
 5   in a wide-ranging campaign to copy Dragon Link that coincides with the hiring of multiple former
 6   Aristocrat executives and game designers. This campaign began in 2022 with L&W renaming one
 7   of its games—from Dragon Unleashed to Dragon Unleashed Link—in a transparent attempt to
 8   sow confusion with, and trade on Aristocrat’s goodwill in, Dragon Link.
 9                  7.     Later in 2022, L&W released a game, Jewel of the Dragon, that copies
10   Dragon Link’s original audiovisual elements and distinctive trade dress, resulting in a game whose
11   artwork, animations, and sounds are strikingly similar to Dragon Link. L&W’s intent was clear:
12   rather than try to develop its own successful game, L&W sought to confuse players about whether
13   L&W’s Jewel of the Dragon game comes from or is related to Aristocrat, whose Dragon Link
14   game consumers know and enjoy.
15                  8.     But Jewel of the Dragon was a cheap knock-off. Despite copying the
16   graphics, sounds, and trade dress of Dragon Link, and despite including similar game features as
17   Dragon Link, Jewel of the Dragon failed to capture the unique player experience created by the
18   underlying Dragon Link math. So L&W has now tried to emulate the math. This effort took the
19   form of a game that L&W recently released in Australia (and showcased at the 2023 Global
20   Gaming Expo in Las Vegas), called Dragon Train.
21                  9.     L&W’s lead developer for Dragon Train was a former Aristocrat game
22   designer, Emma Charles, who had worked on Dragon Link and Lightning Link and was intimately
23   familiar with the math models on which those games are based. On information and belief, L&W
24   developed Dragon Train using Ms. Charles’s knowledge about how Dragon Link and Lightning
25   Link work. The game provides a very similar gameplay experience as Dragon Link and appears
26   to have significant similarities to the Dragon Link math—similarities that seemingly cannot be
27   explained by any legitimate reverse engineering. Dragon Train has enjoyed considerable success
28   in Australia, and, on information and belief, L&W plans to launch the game in the United States

                                                     2
         Case 2:24-cv-00382-GMN-MDC                Document 1      Filed 02/26/24       Page 4 of 51




 1   in the coming months, in an attempt to harm Aristocrat’s strong market position as well as its
 2   reputation as an innovator.
 3                   10.     Through this course of action, L&W has (1) misappropriated Aristocrat’s
 4   trade secrets in violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836, and the Nevada
 5   Uniform Trade Secrets Act, Nev. Rev. Stat. § 600A.030; (2) infringed Aristocrat’s copyright in
 6   the audiovisual elements of Dragon Link in violation of the Copyright Act, 17 U.S.C. § 101 et
 7   seq.; (3) infringed Aristocrat’s federal trade dress and related rights in Dragon Link, and thereby
 8   committed unfair competition and false designation of origin, in violation of the Lanham Act, 15
 9   U.S.C. § 1051 et seq.; and (4) engaged in deceptive trade practices in violation of Nevada Revised
10   Statutes §§ 41.600 & 598.0915. L&W’s misappropriation, infringement, and deceptive acts
11   undermine Aristocrat’s significant investment in its intellectual property and irreparably harm
12   Aristocrat’s brand and its relationship with customers and players. L&W should be enjoined, and
13   Aristocrat should be awarded full monetary relief.
14                                     JURISDICTION AND VENUE
15                   11.     This Court has original jurisdiction over Aristocrat’s claims pursuant to
16   15 U.S.C. § 1121, 17 U.S.C. § 501, 18 U.S.C. § 1836, and 28 U.S.C. §§ 1331 and 1338. The Court
17   also has supplemental jurisdiction over Aristocrat’s state law claims under 28 U.S.C. § 1367(a).
18                   12.     L&W is subject to personal jurisdiction within the District of Nevada
19   because it conducts business in, has a principal place of business in, is incorporated in, and resides
20   in, this District. In addition, L&W has committed acts of infringement, unfair competition, and
21   deceptive trade practices in this District.
22                   13.     Venue is proper under 28 U.S.C. §§ 1391(b) and (c) because, on information
23   and belief, all or a substantial part of the events or omissions giving rise to Aristocrat’s claims
24   occurred in the District of Nevada. Venue is also proper under 28 U.S.C. § 1400(a) with respect
25   to Aristocrat’s claims for copyright infringement because L&W may be found in this District and
26   is subject to personal jurisdiction in this District.
27

28

                                                         3
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24    Page 5 of 51




 1                                           THE PARTIES
 2                 14.     Aristocrat Technologies, Inc. (“ATI”) is a Nevada corporation with its
 3   principal place of business at 10220 Aristocrat Way, Las Vegas, Nevada 89135.
 4                 15.     Aristocrat Technologies Australia Pty Ltd. (“ATA”) is an Australian
 5   corporation with its principal place of business at Building A, Pinnacle Office Park, 85 Epping
 6   Road, North Ryde, New South Wales, Australia 2113.
 7                 16.     On information and belief, Light & Wonder, Inc. is a gaming company
 8   based at 6601 Bermuda Road, Las Vegas, Nevada 89119.
 9                 17.     On information and belief, LNW Gaming, Inc. is a gaming company based
10   at 6601 Bermuda Road, Las Vegas, Nevada 89119. On information and belief, LNW Gaming,
11   Inc. is a wholly owned subsidiary of Light & Wonder, Inc.
12                 18.     On information and belief, SciPlay Corporation is a digital gaming
13   company based at 6601 Bermuda Road, Las Vegas, Nevada 89119. On information and belief,
14   SciPlay Corporation is a wholly owned subsidiary of Light & Wonder, Inc.
15                 19.     On information and belief, L&W manufactures, uses, distributes, offers,
16   provides, and sells or leases gaming machines, servers, systems, websites, online apps, and
17   supporting software, in Nevada and elsewhere in the United States.
18                        FACTS ENTITLING ARISTOCRAT TO RELIEF
19          A.     Aristocrat and Its Dragon Link Product
20                 20.     Aristocrat is a leading provider of games, gaming machines, social gaming
21   apps, games accessible in real-money online gaming apps, and casino management systems.
22   Aristocrat’s product portfolio includes gaming machines with mechanical reels, EGMs with video
23   displays, and digital games featured in social gaming apps and real-money gaming apps. EGMs
24   run on sophisticated computer programs that, among other things, implement the underlying game
25   math and control the mechanics of the game, the display of graphics and animations, and the play
26   of music and sound effects associated with various game features. These programs let developers
27   like Aristocrat create unique gaming experiences for their customers.
28

                                                     4
         Case 2:24-cv-00382-GMN-MDC              Document 1          Filed 02/26/24   Page 6 of 51




 1                  21.     One of Aristocrat’s most successful games is Dragon Link. Released in the
 2   United States in 2017, Dragon Link is the successor to Lightning Link, an earlier family of
 3   Aristocrat games that pioneered many of the key features present in both games. Both Lightning
 4   Link and Dragon Link are multi-denomination, meaning players can choose different amounts to
 5   bet, and linked progressive jackpot games, meaning that each EGM with the game installed is part
 6   of a network of EGMs that all contribute to a total jackpot accumulated by multiple players. Both
 7   Lightning Link and Dragon Link are among the most successful games Aristocrat has ever
 8   released, and both have been flagships for Aristocrat in terms of popularity and commercial
 9   performance around the world.
10                  22.     When it launched in 2014, Lightning Link introduced to the gaming market
11   an innovative “Hold & Spin” bonus feature that offers players free spins during which symbols
12   with designated prize amounts are collected and counted on screen. This “Hold & Spin” feature
13   was unique to Lightning Link when first released and has since been imitated by many other games
14   in the industry because of its proven success for Aristocrat.
15                  23.     The popularity of this and other unique gameplay features in Lightning Link
16   proved enduring, spanning four initial game themes and several new themes, or game titles, that
17   Aristocrat later released under the Lightning Link umbrella brand.
18                  24.     Dragon Link features similar gameplay to Lightning Link, is based on
19   similar underlying math models, and incorporates—and expands upon—many of the signature
20   features that made Lightning Link so popular, including its jackpot tiers and the signature “Hold
21   & Spin” feature. Dragon Link enjoyed exceptionally strong uptake in both the United States and
22   international markets, spanning a collection of ten Asian-themed games that are all built on the
23   successful formula first developed in Lightning Link. Dragon Link remains Aristocrat’s highest-
24   performing game to this day.
25                  25.     When Dragon Link is installed on an EGM, the cabinet—which contains
26   the electronics that run the game’s software and the displays players see and interact with when
27   playing or deciding whether to play the game—prominently shows certain graphical features and
28   layouts that make Aristocrat’s Dragon Link EGMs recognizable and inherently distinctive.

                                                      5
         Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24     Page 7 of 51




 1                    26.    These distinctive graphical features include the DRAGON LINK logos.
 2   These logos appear on a rectangular landscape topper above the various displays that comprise the
 3   gaming cabinet used for the DRAGON LINK game, as well as on signage used in connection with
 4   the game. The primary variation of the DRAGON LINK logo (the “Dragon Link Standard Logo”)
 5   consists of the words DRAGON LINK in a red-to-black fade, superimposed on a glowing gold
 6   orb. The orb contains various shades of yellow, including a bright, light-yellow outline around its
 7   circumference, and is ringed with realistic-looking flames. The entire rectangular landscape topper
 8   is lit with a bright red border. Below is a representative image:
 9
10

11

12

13

14

15                    27.    The primary game display for Dragon Link has multiple uses.1 The lower
16   portion of the display shows the reels on which the games are played. The upper portion of the
17   display features a screen that incorporates the DRAGON LINK name and shows the game’s
18   jackpots and bonuses (the “Dragon Link Jackpot Display”). Its main features include but are not
19   limited to:
20                An animated variation of the DRAGON LINK Logo in which a realistic red flame
                   flares through the DRAGON LINK name.
21

22                A tiered list of gaming jackpots and bonuses, which appear below the DRAGON
                   LINK name.
23

24

25
     1
       Dragon Link is offered in multiple types of cabinets, including a cabinet with a single large,
26   concave display (the “Arc” cabinet) and a cabinet that includes two smaller displays, one above
27   the other. This complaint includes images from the Arc cabinet, but the gameplay and
     audiovisual elements are substantially similar regardless of the cabinet on which the game
28   appears, giving all versions of the game a consistent look and feel.


                                                      6
         Case 2:24-cv-00382-GMN-MDC             Document 1        Filed 02/26/24     Page 8 of 51




 1                 Each list level is outlined on each side by the same glowing gold orb that appears
                    on the Dragon Link Standard Logo, with the words GRAND, MAJOR, MINOR,
 2                  and MINI (for jackpot sizes) written in red, green, blue, and orange, respectively.
 3
                   The prize amounts of each jackpot appear in the same color as their corresponding
 4                  jackpot title (for example, the word GRAND for the grand jackpot is red, so the
                    prize for the grand jackpot is also in red).
 5
                   Each jackpot prize amount appears against a black background.
 6
                   Both the names of the jackpots and the prize amounts are outlined in gold.
 7

 8             All of the foregoing elements are set in front of a background that fades to black at
                the top of the display where the DRAGON LINK name appears, as seen in the
 9              illustrative image below.

10

11

12

13

14

15

16

17                  28.    The red flame flare and glowing orb graphics appear consistently

18   throughout various aspects of the Dragon Link games (the “Dragon Link Orb-and-Flame

19   Graphics”).

20                  29.    The Dragon Link Orb-and-Flame Graphics are incorporated prominently in

21   Dragon Link’s “Hold & Spin” bonus feature, which, as explained further above, allows players to

22   accumulate bonus symbols in a series of free spins (the “Dragon Link Hold & Spin Feature”).

23   These bonus symbols display either a credit value or one of the game’s jackpots inside a glowing

24   golden orb. The appearance of six or more bonus symbols on a single spin in the base game

25   triggers the Dragon Link Hold & Spin Feature, which awards the player three free spins. During

26   the bonus, the symbols that triggered the bonus, along with any additional bonus symbols collected

27   during the bonus, are held in place on each spin. Any additional bonus symbols that are collected

28   during the bonus reset the number of free spins to three.


                                                      7
         Case 2:24-cv-00382-GMN-MDC             Document 1       Filed 02/26/24      Page 9 of 51




 1                  30.    The upper display in the Dragon Link Hold & Spin Feature contains a large
 2   golden orb that says “HOLD & SPIN” when the bonus is first activated, and then when the bonus
 3   game is in progress, the orb includes a count of the bonus symbols, along with the message “15
 4   WIN GRAND JACKPOT.” Each time a bonus symbol appears on the reels, flames flare around
 5   the bonus symbol on the lower display and around the golden orb on the upper display.
 6                  31.    An image of the Dragon Link Hold & Spin Feature when first triggered is
 7   below, left, and an image of the Dragon Link Hold & Spin Feature in progress is below, right.
 8

 9
10

11

12

13

14

15

16

17

18                  32.    At the end of the bonus game, a flame flares out of each bonus symbol and

19   flies along a curving trajectory towards a meter on the upper display that keeps track of the total

20   credits won, activating a gong sound when the flame hits the meter. Directly above the meter is

21   the word “WINNER,” which appears in a similar font and with a similar red-to-black gradient as

22   the Dragon Link Standard Logo. After all the bonus awards have been tallied, animated coins

23   appear to fly upward from the bottom display. This animation is referred to as a “Coin Shower.”

24   The images below left and center show the flame flare effect when bonus symbols are tallied, while

25   the image below right shows the Coin Shower at the bonus game’s conclusion.

26

27

28

                                                     8
        Case 2:24-cv-00382-GMN-MDC             Document 1       Filed 02/26/24      Page 10 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10
                    33.    Often, additional displays or signage will be located above the Dragon Link
11
     EGMs themselves. Due to their height, people can see these displays and signage from farther
12
     away in the casino. These displays and signage are readily recognizable to players and draw them
13
     towards the Dragon Link games.
14
                    34.    The Dragon Link games are also available in digital format on various
15
     mobile applications (i.e., apps). Users can download free-to-play versions of Dragon Link to their
16
     mobile phones, to play and win virtual tokens. Mobile applications where Dragon Link can be
17
     played include Heart of Vegas, Cashman Casino, Lightning Link, and Mighty Fu Casino, which
18
     together have been downloaded by over 25 million users. The gameplay features and audiovisual
19
     elements that appear in the Dragon Link digital games are materially the same as those that appear
20
     in the Dragon Link EGMs.
21
                    35.    The game mechanics of the Dragon Link series embody Aristocrat’s trade
22
     secret information, including without limitation the underlying game math and functionality that
23
     control the gameplay and the timing, frequency, and amount of payouts in both the base game and
24
     the bonuses (e.g., the Dragon Link Hold & Spin Feature).
25
                    36.    For example, the game math and functionality includes, among other things,
26
     the composition and operation of reel strips, symbols, and other game features; the combinations,
27
     pathways, and probabilities for winning or triggering particular outcomes (e.g., activation of the
28

                                                     9
        Case 2:24-cv-00382-GMN-MDC                 Document 1       Filed 02/26/24     Page 11 of 51




 1   “Hold & Spin” feature); the assignment of payouts per win; the magnitude of risk or potential
 2   reward associated with the game (i.e., volatility); and the percentage of wagered money returned
 3   to players (i.e., “return to player” or “RTP”). The game math and functionality also include
 4   Aristocrat’s proprietary implementation of the “Hold & Spin” bonus game, which relies on unique
 5   and complicated math models. These and other trade secrets, including the source code that
 6   implements the game math and functionality, contribute to the overall excitement, experience, and
 7   “feel” of playing a game and are integral to the game’s commercial success.
 8                  37.        As noted above, Dragon Link includes similar gameplay features as
 9   Lightning Link and is based on similar math models. Aristocrat invested considerable time, effort,
10   and resources in developing the underlying game math and functionality for the Dragon Link and
11   Lightning Link games. The development of Lightning Link took a substantial amount of time, in
12   part because of the complexity of the math.
13                  38.        The underlying game math and functionality also reflect significant
14   creativity and innovation on the part of Aristocrat. In developing Lightning Link and Dragon Link,
15   the team of Aristocrat game designers made innumerable choices resulting in the creation of unique
16   and innovative techniques for implementing the game mechanics and features (e.g., the “Hold &
17   Spin” feature), including, for example, innovative techniques for controlling probabilities and the
18   volatility of the game.
19                  39.        This information is not generally known to the public or in the industry. It
20   is also particularly complex—even compared to other casino games—and cannot be ascertained
21   through proper means (including reverse engineering) from merely observing or playing the games
22   themselves, as illustrated by the fact that many companies have tried and failed to mimic the
23   signature gameplay elements of Dragon Link and Lightning Link over time. For example, IGT’s
24   Fireball game, and L&W’s Dragon Unleashed, Kraken Unleashed, and Jewel of the Dragon games,
25   utilized similar features—including their own versions of a “Hold & Spin” feature—but failed to
26   replicate the uniquely appealing “feel” and commercial success of Dragon Link and Lightning
27   Link. Both Dragon Link and Lightning Link have been successful in part because competitors do
28

                                                        10
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24      Page 12 of 51




 1   not know, and cannot emulate through proper means, the underlying math and functionality of the
 2   games.
 3                  40.     Aristocrat owns all rights in and to the confidential and trade secret
 4   information associated with Dragon Link’s and Lightning Link’s underlying game math,
 5   functionality, and source code. Since the secrecy of this information is integral to the continued
 6   commercial success and competitive advantage of these games, Aristocrat keeps the information
 7   highly confidential and subject to tight controls and protections even within the company.
 8                  41.     For example, Aristocrat has adopted strict practices, policies, and
 9   procedures to protect its trade secrets, including by requiring employees and contractors to enter
10   into written agreements setting forth material obligations and restraints (which continue even after
11   termination) against the unauthorized disclosure or use of Aristocrat’s confidential and proprietary
12   information. Aristocrat also provides employees with regular training and has implemented
13   physical and technical security measures designed to secure and safeguard its intellectual property,
14   including trade secrets. Aristocrat’s security measures include system access restrictions tailored
15   to specific personnel, mandatory passwords, and an internal policy prohibiting the use of any
16   devices or equipment that have not been authorized for use by Aristocrat or that do not meet
17   Aristocrat’s technical security requirements. Aristocrat has also regularly taken legal action to
18   enforce its intellectual property rights throughout the world, including in numerous proceedings in
19   recent years in the United States and Australia.
20                  42.     The audiovisual elements of the Dragon Link games (the “Dragon Link
21   Audiovisual Elements”) are original works of authorship entitled to copyright protection. The
22   Dragon Link Audiovisual Elements include, but are not limited to, original artwork, animations,
23   and computer-generated graphics that appear on the game displays, along with original sounds that
24   are played on the game speakers. Examples of the Dragon Link Audiovisual Elements are
25   described and shown herein.
26                  43.     Aristocrat owns the copyright in the Dragon Link Audiovisual Elements and
27   has obtained copyright registrations covering at least certain of those elements. See Ex. A. More
28   particularly, the copyright in the Dragon Link Audiovisual Elements is assigned to ATA, which

                                                        11
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24      Page 13 of 51




 1   has granted an exclusive license to ATI for use in the United States. This copyrighted work was
 2   first published in Australia.
 3                  44.     The look and feel of the Dragon Link Standard Logo, Dragon Link Jackpot
 4   Display, Dragon Link Orb-and-Flame Graphics, and Dragon Link Bonus Feature, along with other
 5   distinctive audiovisual elements in the Dragon Link games (collectively, the “Dragon Link Trade
 6   Dress”), make the Dragon Link games instantly recognizable to consumers. Consumers recognize
 7   the collection of features comprising the Dragon Link Trade Dress as a distinctive indicator of
 8   source separate from the underlying game mechanics.
 9                  45.     Aristocrat owns the Dragon Link Trade Dress and has used it exclusively
10   and continuously in commerce in Australia since at least 2016, and in the United States since at
11   least 2017. More particularly, all U.S. rights in the Dragon Link Trade Dress either are owned by
12   ATI or are owned by ATA and exclusively licensed to ATI.
13                  46.     Because the Dragon Link Trade Dress is arbitrary and non-functional, the
14   Dragon Link Trade Dress is inherently distinctive and has become an indicator that the product is
15   made by Aristocrat.
16                  47.     Even if the Dragon Link Trade Dress were not inherently distinctive, it has
17   acquired distinctiveness through its widespread use and success and its association with Aristocrat.
18                  48.     Aristocrat has made enormous investments in developing and marketing its
19   Dragon Link games and expended resources fostering the reputation, recognition, and goodwill
20   associated with the games. This includes millions of dollars spent on various marketing avenues,
21   including social media advertising, online search advertising, player promotion partnerships,
22   casino promotion partnerships, and apparel promotions. Aristocrat’s advertising for Dragon Link
23   prominently features many of the Dragon Link Trade Dress elements, including the Dragon Link
24   Standard Logo and the Dragon Link Orb-and-Flame Graphics. See, for example, the following
25   two images of promotions at Wheeling Island Casino, West Virginia, featuring the Dragon Link
26   Standard Logo and Orb-and-Flame Graphics:
27

28

                                                     12
     Case 2:24-cv-00382-GMN-MDC   Document 1   Filed 02/26/24   Page 14 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                     13
         Case 2:24-cv-00382-GMN-MDC           Document 1       Filed 02/26/24     Page 15 of 51




 1                 49.     Similarly, Aristocrat uses the Dragon Link Trade Dress to advertise its
 2   Dragon Link games, as seen in the following screenshot of Aristocrat’s website2:
 3

 4

 5

 6

 7

 8

 9
10

11                 50.     As shown above, the website specifically mentions the “beautiful Orb
12   trigger symbol,” which “mak[es] it easy to recognize regardless of the game you’re enjoying.”
13                 51.     As a result of Aristocrat’s investments in development and marketing,
14   Dragon Link has been very successful around the world, including in the United States and Nevada
15   in particular. There currently are thousands of Dragon Link EGMs available in casinos across
16   more than 35 states, including Nevada.
17                 52.     Since its launch, Dragon Link has received a significant amount of
18   publicity, including awards and recognition of the game as a unique industry-leading product.
19   These awards include Casino Journal’s Top 20 Most Innovative Gaming Technology Awards for
20

21

22

23

24

25

26

27   2
      See Aristocrat, Dragon Link, ARISTOCRAT GAMING (last visited February 24, 2024),
28   https://www.aristocratgaming.com/us/slots/game-groups/dragon-link.


                                                   14
         Case 2:24-cv-00382-GMN-MDC          Document 1       Filed 02/26/24    Page 16 of 51




 1   2016,3 the EKG Slot Awards Top Performing Premium Game for the years 20214 and 2022,5 the
 2   EKG Slot Awards Top Performing Proprietary Branded Game for the years 20216 and 2023,7 and
 3   the EKG Slot Awards Top Performing New Premium Game for 2022 (for a new Dragon Link
 4   game variation).8 ReelMetrics, a data science and market research firm, found that Dragon Link
 5   games were the top five best performing premium slot games on the market.9 Seminole Casino
 6

 7

 8

 9
     3
10     See Marketwired, Aristocrat's New Dragon Link(TM) and Fast Cash(TM) Slot Games Named
     to Casino Journal's Top 20 Most Innovative Gaming Technology Products List, YAHOO FINANCE
11   (Mar. 28, 2017), https://finance.yahoo.com/news/aristocrats-dragon-tm-fast-cash-
     151843771.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guc
12   e_referrer_sig=AQAAADQpSUO4mG8-gI1P8afGkJfD_cBocLHO2z67hlyC1oF4M02a-
     ZQQX3XNSVDlT5Vzh6MKsUPPETLkO0YFezWsuHo3Xujjt_gqES452vU0p_Ldzv7_crXulFe
13   JzDh783vlXlOxGfozXoyNlTJiwf65OHZ0Ozy0YQBz326rxBNfo5eW (Ex. B at 1–2).
14   4
      See Aristocrat Gaming™ Repeats "Best Overall Supplier of Slot Content" Win at EKG Slot
     Awards, PR NEWSWIRE (Apr. 7, 2021), https://www.prnewswire.com/news-releases/aristocrat-
15   gaming-repeats-best-overall-supplier-of-slot-content-win-at-ekg-slot-awards-301264528.html
16   (Ex. C at 1–3).
     5
      See Aristocrat Gaming™ Three-peats "Best Overall Supplier of Slot Content" Win at EKG Slot
17   Awards, PR NEWSWIRE (Mar. 7, 2022), https://www.prnewswire.com/news-releases/aristocrat-
     gaming-three-peats-best-overall-supplier-of-slot-content-win-at-ekg-slot-awards-
18
     301496886.html (Ex. D at 1–2).
19   6
      See Aristocrat Gaming™ Repeats "Best Overall Supplier of Slot Content" Win at EKG Slot
     Awards, PR NEWSWIRE (Apr. 7, 2021), https://www.prnewswire.com/news-releases/aristocrat-
20
     gaming-repeats-best-overall-supplier-of-slot-content-win-at-ekg-slot-awards-301264528.html
21   (Ex. C at 3).
     7
      See PR Newswire, Casino Industry Experts Honor Aristocrat Gaming™ with "Best Overall
22
     Supplier" at EKG Slot Awards, YAHOO FINANCE (Mar. 1, 2023),
23   https://finance.yahoo.com/news/casino-industry-experts-honor-aristocrat-140000033.html
     (Ex. E at 1–2).
24   8
      See Aristocrat Gaming™ Three-peats "Best Overall Supplier of Slot Content" Win at EKG Slot
25   Awards, PR NEWSWIRE (Mar. 7, 2022), https://www.prnewswire.com/news-releases/aristocrat-
     gaming-three-peats-best-overall-supplier-of-slot-content-win-at-ekg-slot-awards-
26   301496886.html (Ex. D at 1).
     9
27     See Aristocrat Gaming Keeps On Leading the Way In Core and Premium Slots, G&M NEWS
     (Jan. 27, 2023), https://g-mnews.com/en/aristocrat-gaming-keeps-on-leading-the-way-in-core-
28   and-premium-slots/ (Ex. F at 4).


                                                  15
           Case 2:24-cv-00382-GMN-MDC             Document 1        Filed 02/26/24      Page 17 of 51




 1   Hotel Immokalee opened a lounge dedicated exclusively to Dragon Link and Lightning Link,
 2   recognizing that Dragon Link is one of “the most popular games in the industry.”10
 3                    53.    Much of this publicity explicitly highlights the Dragon Link Audiovisual
 4   Elements and the Dragon Link Trade Dress. For example, Casino Review, in recognizing Dragon
 5   Link’s player interest and awards, declared that Dragon Link “is breathing a fire of excitement on
 6   casino floors across North America”—a reference to the various Dragon Link audiovisual
 7   elements that incorporate fire imagery and graphics.11 Casino Review further recognized that
 8   Dragon Link’s “orb” graphic element “makes it simple for players to easily recognise the Hold &
 9   Spin trigger across all game themes.”12 Similarly, another article, noting Dragon Link’s “premium
10   appeal,” specifically pointed to its “common trigger symbol,” which “makes it easy for players to
11   recognize the Hold & Spin mechanic, regardless of which [Dragon Link] game they are
12   enjoying.”13 And another article touted Dragon Link’s “rich audio-visual elements,” including
13   noting that its bonus feature “fires up the entire screen in a frenzy of glittering golden pyrotechnics”
14   and that the “musical score and in-game mechanics perfectly complement the action.”14
15                    54.    Dragon Link’s popularity has expanded worldwide.             One publication,
16   covering Dragon Link’s expansion into Manila, specifically noted the game’s “phenomenal
17

18
19

20
     10
       See Seminole Casino Hotel Immokalee Opens Florida’s First Aristocrat Lightning Link
21   Lounge, INDIAN GAMING (Dec. 15, 2022), https://www.indiangaming.com/seminole-casino-
22   hotel-immokalee-opens-floridas-first-aristocrat-lightning-link-lounge/ (Ex. G at 1).
     11
       See Aristocrat’s Dragon Link™ Flies Into North America, CASINO REVIEW (December 21,
23   2017), https://www.casino-review.co/dragon-link-aritocrat/ (Ex. H at 1).
     12
24        Id. at 2.
     13
25      See Marketwired, Aristocrat's New Dragon Link(TM) and Fast Cash(TM) Slot Games Named
     to Casino Journal's Top 20 Most Innovative Gaming Technology Products List, YAHOO FINANCE
26   (Mar. 28, 2017), https://finance.yahoo.com/news/aristocrats-dragon-tm-fast-cash-
     151843771.html?guccounter=1 (Ex. I at 1).
27   14
        See 888 Casino, What’s Hot About Dragon Link Slot, CASINO BLOG (July 14, 2020),
28   https://us.888casino.com/blog/dragon-link-slot (Ex. J at 1–2).


                                                       16
          Case 2:24-cv-00382-GMN-MDC           Document 1       Filed 02/26/24      Page 18 of 51




 1   success” globally.15 And as the trade publication Gaming America concluded, “Dragon Link is
 2   one of the most popular slot games in the world.”16
 3                  55.    As a result of Dragon Link’s popularity, many casinos in the United States
 4   explicitly advertise the fact that they carry Dragon Link slot machines to attract customers. Such
 5   casinos have included Seminole Hard Rock Hotel & Casino of Tampa,17 Hollywood Casino at
 6   Kansas Speedway,18 Seminole Casino Coconut Creek,19 Plainridge Park Casino,20 and Bristol
 7   Casino.21
 8                  56.    Dragon Link is an extremely valuable asset for Aristocrat—and Aristocrat
 9   continues to invest in the brand. In response to Dragon Link’s immense popularity, Aristocrat
10   continues to develop new Dragon Link games and variations, all of which employ the core aspects
11   of the Dragon Link Trade Dress that make the game so easily recognizable to and popular with
12   customers.
13                  57.    Because of Dragon Link’s widespread success, consumers recognize the
14   Dragon Link Trade Dress and favorably associate it with Aristocrat.          This contributes to
15   Aristocrat’s goodwill and reputation. For instance, on a discussion forum on Vegas Fanatics, a
16   user posted a video of themselves playing Dragon Link with the caption “Some HUGE ORBS with
17

18   15
        Ben Blaschke, Chasing the Dragon, INSIDE ASIAN GAMING (July 28, 2022),
19   https://www.asgam.com/index.php/2022/07/28/chasing-the-dragon/ (Ex. K at 3).
     16
20      Product Review: Dragon Link $1m Slot by Aristocrat, GAMING AMERICA (Jan. 16, 2023),
     https://gamingamerica.com/magazine/6852/product-review-dragon-link-1m-slot-by-aristocrat
21   (Ex. L at 3).
     17
22      See Slots, SEMINOLE HARD ROCK TAMPA (last visited February 24, 2024),
     https://www.seminolehardrocktampa.com/casino/slots.
23   18
        See Casino, HOLLYWOOD CASINO AT KANSAS SPEEDWAY (last visited February 24, 2024),
     https://www.hollywoodcasinokansas.com/casino/slots.
24
     19
        See Slots, SEMINOLE CASINO COCONUT CREEK (last visited February 24, 2024),
25   https://www.seminolecoconutcreekcasino.com/casino/slots.
     20
26      See Casino, PLAINRIDGE PARK CASINO (last visited February 24, 2024),
     https://www.plainridgeparkcasino.com/casino/slots.
27   21
        See Slots, BRISTOL CASINO (last visited February 24, 2024),
28   https://www.hardrockhotelcasinobristol.com/casino/slots.


                                                    17
          Case 2:24-cv-00382-GMN-MDC            Document 1        Filed 02/26/24     Page 19 of 51




 1   live play! . . . #Aristocrat.”22 “HUGE ORBS” here appears to refer to the “orbs” that form a
 2   prominent visual element of the Dragon Link Hold & Spin Feature.
 3                  58.     Similarly, This Week in Gambling, a gambling news website, posted a video
 4   publicizing Dragon Link titled “Dragon Link Slot Bank from Aristocrat.”23 The video informs
 5   viewers that “Aristocrat’s new Dragon Link slot bank has been named to Casino Journal’s list of
 6   the Top 20 Most Innovative Gaming Technology Products for 2016.”
 7                  59.     Likewise, a Gaming America review of Dragon Link wrote “Aristocrat
 8   breathes (fiery) new life into high denomination slots,” and said that “Aristocrat’s Dragon Link
 9   jackpot brand has long been a favorite among slot machine fanatics.”24
10                  60.     The Dragon Link Trade Dress is thus well known by consumers and serves
11   as indication to consumers of the source of the Dragon Link games.
12           B.     L&W’s Repeated Efforts to Copy Dragon Link
13                  61.     L&W competes with Aristocrat. On information and belief, L&W is aware
14   of Dragon Link’s success and has targeted it in designing competing products. But instead of
15   creating its own unique games to compete with Aristocrat’s games, L&W has copied the name,
16   appearance, sounds, and gameplay of Aristocrat’s Dragon Link in a series of L&W games,
17   including Dragon Unleashed Link, Jewel of the Dragon, and Dragon Train.
18                  62.     In its Annual Financial Report for the year ended December 31, 2021, L&W
19   reported that it was shifting away from lottery and sports betting businesses in order to focus on
20   gaming. See Ex. O at 8. In the same report, L&W stated that “the gaming machine sector is highly
21   competitive,” and identified Aristocrat as one of its primary competitors. Id. at 9.
22

23   22
        Holy! Huge Orbs! Dragon Link Golden Century Live Play, VEGAS FANATICS (Sep. 28, 2019),
24   https://vegasfanatics.com/index.php?threads/holy-%E2%98%80%EF%B8%8Fhuge-orbs-
     %E2%98%80%EF%B8%8F-dragon-link-golden-century-live-play.7018/ (Ex. M at 1).
25   23
        Dragon Link Slot Bank From Aristocrat, THIS WEEK IN GAMBLING (Apr. 5, 2017),
26   https://www.thisweekingambling.com/dragon-link-slot-bank-aristocrat/ (Ex. N at 1).
     24
27      Product Review: Dragon Link $1m Slot by Aristocrat, GAMING AMERICA (Jan. 16, 2023),
     https://gamingamerica.com/magazine/6852/product-review-dragon-link-1m-slot-by-aristocrat
28   (Ex. L at 2).


                                                     18
          Case 2:24-cv-00382-GMN-MDC           Document 1       Filed 02/26/24      Page 20 of 51




 1                  63.    This shift has coincided with L&W’s hiring of a number of former
 2   Aristocrat executives and game designers. As Global Gaming Business Magazine recognized,
 3   since 2020 L&W has hired “many executives . . . who formerly were with Aristocrat.”25 These
 4   executives include Jamie Odell, Executive Chairman of L&W, formerly CEO of Aristocrat; Matt
 5   Wilson, Director and CEO of L&W, formerly President and Managing Director, Americas, at
 6   Aristocrat; Toni Korsanos, Executive Vice-Chair of L&W, formerly Chief Financial Officer and
 7   Head of Strategy at Aristocrat; Siobhan Lane, Executive Vice President and CEO of Gaming of
 8   L&W, formerly Senior Vice President of Marketing and Gaming Operations at Aristocrat; Ted
 9   Hase, Senior Vice President, Game Design, of L&W, formerly Senior Vice President of R&D at
10   Aristocrat; Victor Blanco, Chief Technology Officer of L&W, formerly Chief Technology Officer
11   of Aristocrat; Oliver Chow, Chief Financial Officer of L&W, formerly Chief Financial Officer,
12   Americas, of Aristocrat; Anthony Firmani, Chief Operations Officer of L&W, formerly Senior
13   Vice President, Operations, at Aristocrat; and Nathan Drane, Senior Vice President, Global
14   Product Management, at L&W, formerly Vice President, Commercial Strategy, at Aristocrat.
15                  64.    In addition to these former employees, Rich Schneider joined L&W as
16   Chief Product Officer in July 2021, hired directly from his job as Chief Product Officer of
17   Aristocrat. Mr. Schneider’s L&W biography states that he “oversees L&W’s land-based gaming
18   product strategy,”26 which, on information and belief, includes the Jewel of the Dragon slot
19   machine. Mr. Schneider’s biography also states that he was hired because of his “product
20   expertise,” including from his experience at Aristocrat, where he held the same role. Based on his
21   experience, Mr. Schneider “knows what makes a good game.” Mr. Schneider was Chief Product
22   Officer of Aristocrat when Dragon Link was developed, and he has firsthand knowledge of Dragon
23   Link’s and Lightning Link’s success and features.
24

25
     25
26      Frank Legato, Light & Wonder, GLOBAL GAMING BUSINESS MAGAZINE (Sep. 27, 2022),
     https://ggbmagazine.com/article/light-wonder-2/ (Ex. P at 2).
27   26
        Rich Schneider, LIGHT & WONDER (last visited February 24, 2024),
28   https://explore.lnw.com/about/our-leadership/rich-schneider/ (Ex. Q at 1).


                                                    19
          Case 2:24-cv-00382-GMN-MDC            Document 1        Filed 02/26/24      Page 21 of 51




 1                  65.     Emma Charles is another former Aristocrat employee now working for
 2   L&W. Ms. Charles was a senior game designer at Aristocrat from around December 2008 to
 3   October 2012, and from October 2012 to July 2017, she worked on secondment to High Roller
 4   Gaming Pty Ltd. (“HRG”)—which develops games exclusively for Aristocrat, including Lightning
 5   Link and Dragon Link.27 While at Aristocrat and HRG, Ms. Charles worked extensively on
 6   Lightning Link and Dragon Link and thus had unfettered access to, and was knowledgeable about,
 7   highly confidential information relating to these games, including details of the underlying math
 8   and functionality. Ms. Charles has firsthand knowledge of Lightning Link and Dragon Link’s
 9   success and the features responsible for that success.
10                  66.     Ms. Charles’s employment agreement with Aristocrat includes standard
11   confidentiality obligations, including obligations, during her employment and thereafter, not to
12   (a) disclose Aristocrat’s confidential information, or (b) use or facilitate, or allow others to use,
13   Aristocrat’s confidential information.
14                  67.     Another former Aristocrat employee, Lloyd Sefton, now works for L&W as
15   an artist. Mr. Sefton was previously employed by Aristocrat for around 15 years, from around
16   May 2001 to February 2016. Mr. Sefton was initially a Graphics Designer/Illustrator, and then
17   became a Lead Artist. During that time, he had access to highly confidential information relating
18   to Lightning Link and other Aristocrat games. Under Mr. Sefton’s employment contract with
19   Aristocrat, he was subject to the same restraint as Ms. Charles prohibiting disclosure or use of
20   Aristocrat’s confidential information following his employment.
21                  68.     In addition to the individuals identified above, Dinh Toan Tran worked for
22   Aristocrat as a game designer since 2008. Under Mr. Tran’s employment contract with Aristocrat,
23   he was subject to the same restraint as Ms. Charles and Mr. Sefton prohibiting disclosure or use of
24   Aristocrat’s confidential information following his employment.           Mr. Tran resigned from
25   Aristocrat at the end of 2023 and notified Aristocrat that he would be joining L&W. Before leaving
26

27   27
       Aristocrat is the owner of all IP in the games created by HRG, including Lightning Link and
28   Dragon Link.


                                                      20
          Case 2:24-cv-00382-GMN-MDC            Document 1       Filed 02/26/24      Page 22 of 51




 1   Aristocrat, Mr. Tran allegedly downloaded to a personal device, without authorization, an
 2   extensive cache of Aristocrat trade secrets and proprietary information, including over 6,800 files.
 3   Aristocrat is currently pursuing legal recourse against Mr. Tran in Australia, and a court has
 4   ordered the seizure and inspection of his devices.28
 5                  1.      Dragon Unleashed Link
 6                  69.     L&W’s improper efforts to capitalize on Dragon Link’s success hit the
 7   market in March 2022, when L&W unveiled a game it called DRAGON UNLEASHED LINK at
 8   the annual Australasian Hospitality and Gaming Expo, a premier showcase for the gaming
 9   industry. The game was a repurposed version of a previously deployed L&W game called
10   DRAGON UNLEASHED, with the addition of the word LINK at the end of the title giving it a
11   confusingly similar title to Aristocrat’s Dragon Link game. Aristocrat promptly contacted L&W
12   objecting to the infringement of Aristocrat’s DRAGON LINK trademark due to the obvious
13   similarity between the two games’ prominent use of both DRAGON and LINK in their titles, and
14   demanding that L&W cease use of the name DRAGON UNLEASHED LINK. But the copying
15   did not stop there.
16                  2.      Jewel of the Dragon
17                  70.     After its initial attempt to copy Dragon Link’s name, L&W then decided to
18   copy Dragon Link’s distinctive audiovisual and design elements.
19                  71.     In 2022, approximately a year after Mr. Schneider joined L&W, the
20   company introduced a new slot machine game called Jewel of the Dragon. This game is an
21   extensive redesign of an older L&W slot machine game also called Jewel of the Dragon. The new
22   game bears little resemblance to the old Jewel of the Dragon game and instead copies heavily from
23   Aristocrat’s Dragon Link game.
24

25

26   28
        See Sarah Danckert, Pokies Giant Gets Orders Against Senior Staffer Who Allegedly
27   Downloaded Cache of Company Documents, THE SYDNEY MORNING HERALD (Jan. 11, 2024),
     https://www.smh.com.au/business/companies/pokies-giant-gets-orders-against-senior-staffer-
28   who-allegedly-downloaded-cache-of-company-documents-20240111-p5ewho.html (Ex. R 1–3).


                                                     21
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24     Page 23 of 51




 1                  72.    Much like Dragon Link, Jewel of the Dragon is a game series that appears
 2   on EGMs with linked progressive jackpots and that offers multiple game themes under the name
 3   JEWEL OF THE DRAGON. On information and belief, a digital version of Jewel of the Dragon
 4   has been offered, promoted, or displayed in substantially the same form through Defendant
 5   SciPlay, Inc.’s Jackpot Party mobile app and/or website.
 6                  73.    Jewel of the Dragon uses a logo (the “Jewel of the Dragon Standard Logo”)
 7   consisting of the words JEWEL OF THE DRAGON written in all capital letters, in a red-to-black
 8   fade, with the word DRAGON far larger and more prominent than the other words. The words
 9   are superimposed on a glowing gold orb containing various shades of yellow, including a bright,
10   white-yellow outline around the orb’s circumference. The orb is ringed with realistic-looking
11   flames, and the entire logo appears on a rectangular landscape cabinet topper lit with a bright red
12   border. Many striking similarities between L&W’s Jewel of the Dragon Standard Logo and
13   Aristocrat’s Dragon Link Standard Logo may be seen below:
14

15

16

17

18
19

20

21

22

23             Aristocrat’s Dragon Link                         L&W’s Jewel of the Dragon
24                  74.    These similarities include the words “Dragon” written in red-to-black fade
25   text coloring, central placement of the words on a glowing golden orb with varied yellow coloring,
26   realistic-looking flames ringing the golden orb, and a lit, bright red border around the landscape
27   topper.
28

                                                     22
        Case 2:24-cv-00382-GMN-MDC                 Document 1       Filed 02/26/24      Page 24 of 51




 1                     75.    The two games’ logos even include similar detailing resembling dragon
 2   scales:
 3

 4

 5

 6

 7                 Aristocrat’s Dragon Link                       L&W’s Jewel of the Dragon
 8                     76.    The large, prominent presentation of the word DRAGON in the Jewel of the

 9   Dragon Standard Logo is particularly noteworthy given that dragons do not appear in or play any
10   significant role in the Jewel of the Dragon game.

11                     77.    Also much like Dragon Link, Jewel of the Dragon features a display

12   showing the game’s jackpots and bonuses (the “Jewel of the Dragon Jackpot Display”) and

13   including the following features (compared side-by-side further below to Aristocrat’s Dragon Link

14   Jackpot Display):

15                The Jewel of the Dragon Standard Logo.
16                A tiered list of gaming jackpots and bonuses, which appears below the Jewel of the
                   Dragon Standard Logo.
17

18                    The top list level is outlined on each side by the same glowing gold orb that
                       appears on the cabinet topper, and the other list levels are outlined by similar
19                     glowing orbs, with the words GRAND, MAJOR, MINOR, and MINI (for jackpot
                       sizes) written in red, purple, blue, and green, respectively.
20
                      The prize amounts of each jackpot appear in the same color as their corresponding
21                     jackpot title (for example, the word GRAND for the grand jackpot is red, so the
22                     prize for the grand jackpot is also in red).

23                    Each jackpot prize amount appears against a black background.

24                All of the foregoing elements are set in front of a background that fades to black at
                   the top of the display where the Jewel of the Dragon Standard Logo appears.
25

26                     78.    The Jewel of the Dragon Jackpot Display (below left) is strikingly similar

27   to the Dragon Link Jackpot Display (below right). These similarities include a tiered list of gaming

28   jackpots and bonuses appearing below the game name, each list level being surrounded by


                                                        23
        Case 2:24-cv-00382-GMN-MDC               Document 1      Filed 02/26/24     Page 25 of 51




 1   glowing, animated golden yellow orbs, the same words for each jackpot/bonus (GRAND, MAJOR,
 2   MINOR, and MINI), each jackpot/bonus appearing in a different color, three of the four colors,
 3   including the most prominent GRAND jackpot, being identical, and each jackpot/bonus amount
 4   appearing on a black background, outlined in gold. The foregoing elements are set in front of a
 5   background that fades to black at the top of the display where game logos appear.
 6

 7

 8

 9
10
                Aristocrat’s Dragon Link                         L&W’s Jewel of the Dragon
11

12                  79.     Jewel of the Dragon offers a “Hold & Spin” bonus feature that incorporates
13   several features highly similar to the Dragon Link Hold & Spin Feature that customers associate
14   with Aristocrat’s games. Like Dragon Link, the upper display contains a large golden orb that
15   says “HOLD & SPIN” when the feature is first activated, and then, when the bonus game is in
16   progress, includes a count of the bonus symbols collected. The lower display contains reels on
17   which the bonuses (either credit values or one of the four jackpots/bonuses) appear inside glowing
18   golden orbs, just like Dragon Link. Each time a bonus symbol appears on the reels, a drum sounds
19   and a flame flares around the bonus symbol on the lower display and around the golden orb on the
20   upper display. Also like Dragon Link, a dark gradient appears over the positions in the reels that
21   do not contain bonus symbols. Below are images of the Jewel of the Dragon “Hold & Spin” feature
22   when first activated (left) and when in progress (right).
23

24

25

26

27

28

                                                      24
        Case 2:24-cv-00382-GMN-MDC              Document 1        Filed 02/26/24      Page 26 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11                  80.     As in the Dragon Link Hold & Spin Feature, at the end of the Jewel of the
12   Dragon “Hold & Spin” feature, a flame flares out of each bonus symbol and flies in a curved
13   trajectory towards a meter on the upper display that keeps track of the total credits won, activating
14   a gong sound when the flame hits the meter. After all the bonus awards have been tallied, the Coin
15   Shower animation is displayed. The image below left shows the flame flare effect when bonus
16   symbols are tallied, while the image below right shows the Coin Shower at the bonus game’s
17   conclusion.
18
19

20

21

22

23

24

25

26

27                  81.     The similarities between Jewel of the Dragon’s Hold & Spin feature and the

28   Dragon Link Hold & Spin Feature are readily apparent when viewing images of each side-by-side,

                                                      25
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24    Page 27 of 51




 1   including but not limited to those listed below (Jewel of the Dragon on the left and Dragon Link
 2   on the right):
 3              Both games feature a large glowing gold orb over a red and black background,
                 superimposed with the words HOLD & SPIN.
 4

 5              Above the orb, rectangular meter boxes with gold circles at the sides surrounded by
                 illuminated rings, and labels appearing in the circles where the color of the label
 6               matches the color of the jackpot amount (including identical jackpot labels and three
                 of the four same colors). The meter boxes have gold borders, and the jackpot amounts
 7               are outlined in gold.
 8
                Below the orb, a 3 x 5 grid of boxes with gold borders.
 9
10

11

12

13

14

15

16

17

18
19
                During the game, the gold orb changes to a symbol counter, with a large numeral
20
                 showing the number of bonus symbols that have appeared on the reels, directly above
21               the word COLLECTED and text indicating that 15 symbols result in the GRAND
                 JACKPOT, where GRAND appears in red and JACKPOT appears in yellow.
22
                The bonus game features glowing gold bonus symbols displaying numerical values or
23               jackpot/bonus names, surrounded by a ring of fire. A dark gradient appears over the
24               reel positions that do not contain bonus symbols.

25              A small rectangular box with gold borders that overlays the top edge of the grid and
                 indicates the number of FREE SPINS REMAINING, which appears in yellow.
26

27

28

                                                     26
     Case 2:24-cv-00382-GMN-MDC             Document 1        Filed 02/26/24     Page 28 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11         Reddish-gold fire bolts that arc off of the gold bonus symbols and up to a total win box,
            where they explode to the sound of a gong as the score accumulates. The word
12          WINNER appears in all caps directly above the win box, which is surrounded by light.
13

14

15

16

17

18
19

20

21

22

23
           A Coin Shower at the conclusion of the feature.
24

25

26

27

28

                                                 27
        Case 2:24-cv-00382-GMN-MDC             Document 1      Filed 02/26/24     Page 29 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12                 82.     Another similarity appears in the Red Phoenix version of the Jewel of the

13   Dragon game, which prominently features a dark-haired woman in an ornate headdress facing the

14   viewer. This woman appears just below the Jewel of the Dragon Jackpot Display. Rather than

15   connecting to the game’s phoenix theme, this artwork appears designed to resemble the equivalent

16   artwork in the Autumn Moon version of Dragon Link, which also features a dark-haired woman

17   in an ornate headdress facing the viewer. See Dragon Link Autumn Moon, below left, and Jewel

18   of the Dragon Red Phoenix, below right.

19

20

21

22

23

24

25

26

27

28

                                                   28
        Case 2:24-cv-00382-GMN-MDC              Document 1        Filed 02/26/24      Page 30 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15                  83.    Jewel of the Dragon’s audiovisual elements are substantially similar to the

16   Dragon Link Audiovisual Elements and copy protectable expression of Aristocrat in those

17   elements.

18                  84.    Beyond those similarities discussed above, other striking similarities

19   between the audiovisual elements of Jewel of the Dragon and Dragon Link include:

20               a. similar graphics during the games’ bonus features, e.g., the large glowing yellow

21                  orb graphic at the top of the screen; the yellow flaming graphics that flank the large

22                  yellow orb; glowing yellow orb graphics on which bonus amounts appear; the flame

23                  graphics that spin around the yellow orbs; the synchronization between all the

24                  spinning flames on the screen at the same time; the audiovisual representation of a

25                  flaming “explosion” when yellow orb bonuses appear on the reels; the flame

26                  graphics that burst out of the yellow orbs on the reels when the jackpots are tallied

27                  and curve around the screen until they collide with and appear to ignite the box

28                  containing the total jackpot amount; the flame graphics that surround the total


                                                     29
          Case 2:24-cv-00382-GMN-MDC            Document 1       Filed 02/26/24     Page 31 of 51




 1                  jackpot amount; and the Coin Shower animation upon completion of the “Hold &
 2                  Spin” bonus feature;
 3              b. similar sounds during the games’ bonus features, e.g., music that plays in the
 4                  background; the “push” sound that plays when reels are spun; and the gong,
 5                  firework, and other sounds that play when jackpot amounts are totaled; and
 6              c. similar reel artwork during the games’ standard play, e.g., various reel symbol
 7                  graphics that spin or increase in size when activated; royal symbols; and flora and
 8                  fauna symbols.
 9                  85.    The audiovisual elements that L&W copied from Dragon Link constitute
10   protectable expression of Aristocrat. They reflect original, creative, and expressive choices that
11   were made in designing and developing Dragon Link. The design choices available to L&W in
12   creating a slot machine game, including one that has similar game mechanics as Dragon Link (e.g.,
13   a hold-and-spin bonus), were virtually unlimited. L&W had no need to appropriate substantially
14   the same audiovisual elements as Dragon Link. For example, a hold & spin game—even one
15   having an Asian or dragon theme—does not require the use of golden orbs surrounded by rings of
16   fire as bonus symbols, a large golden orb as a symbol counter, animated fire bolts that arc off of
17   the bonus symbols and up to a total win box, and so on. These elements, along with the numerous
18   other Dragon Link Audiovisual Elements that appear in Jewel of the Dragon, are protectable
19   expression that L&W is not entitled to copy without Aristocrat’s permission.
20                  86.    L&W has publicly distributed copies of its Jewel of the Dragon game in the
21   United States at least by (a) offering EGMs containing the game to casinos, and (b) offering mobile
22   apps and/or websites, including Jackpot Party, that contain the game. In addition, L&W promotes
23   its Jewel of the Dragon games through, among other channels, a publicly accessible website, which
24   displays images of the game, including the Jewel of the Dragon Standard Logo and certain of the
25   artwork shown above.29
26
     29
27     See Jewel of the Dragon - Red Phoenix, LIGHT & WONDER GAMING (last visited February 24,
     2024), https://gaming.lnw.com/games/Scientific-Games/class3/premium-games/Jewel-of-the-
28   Dragon-Red-Phoenix-18757 (Ex. S at 1).


                                                     30
          Case 2:24-cv-00382-GMN-MDC            Document 1       Filed 02/26/24     Page 32 of 51




 1                  87.     L&W’s use of the confusingly similar trade dress features described above
 2   gives the Jewel of the Dragon games a nearly identical look and feel to the Dragon Link games
 3   and the Dragon Link Trade Dress.
 4                  88.     On information and belief, L&W intentionally seeks to confuse players and
 5   to lead them to believe, incorrectly, that its Jewel of the Dragon games were developed by
 6   Aristocrat, or are otherwise from or associated with or endorsed by Aristocrat, with the goal of
 7   enticing players to play the Jewel of the Dragon games.
 8                  89.     Confusion is particularly likely in the context of casinos and social gaming
 9   apps, where players have ready access to a variety of games, often face low costs to play, and may
10   move quickly to and between games.
11                  90.     Indeed, L&W’s plan to confuse customers appears to be working. A video
12   posted on YouTube by a channel devoted to slot machines questions whether Jewel of the Dragon
13   is a “New Dragon Link?” and observes that the Hold & Spin bonus feature is “just like Dragon
14   Link.”30 Another video posted on YouTube by a different channel devoted to slot machines reports
15   about Jewel of the Dragon that “[I’ve] never played it before, [but] I’m pretty sure it’s gonna be
16   just like a Dragon Link slot.”31
17                  91.     Moreover, to the extent such players have unsatisfactory experiences with
18   the Jewel of the Dragon games, it harms the reputation of Aristocrat and its Dragon Link games.
19                  92.     On information and belief, L&W has knowingly and for profit engaged in
20   this infringing use of the Aristocrat trade dress to attract players, knowing that players would
21   wrongly believe that the games are associated or affiliated with, or sponsored or endorsed by,
22   Aristocrat.
23                  93.     The likelihood of confusion created by this intentional offering of nearly
24   identical goods with confusingly similar trade dress is even greater because L&W offers its Jewel
25
     30
26     See New Dragon Link? Jewel of the Dragon and Release the Kraken HOT SLOT Bonuses
     Yaamava’ Casino, YOUTUBE (Oct. 1, 2022), https://www.youtube.com/watch?v=xOkbStkJ5Is.
27   31
      See I TRIPLED MY Money On This New Jewel Of The Dragon Slot Machine In Las Vegas!!,
28   YOUTUBE (Dec. 31, 2022), https://www.youtube.com/watch?app=desktop&v=-CqupGMUF3w.


                                                     31
        Case 2:24-cv-00382-GMN-MDC               Document 1        Filed 02/26/24   Page 33 of 51




 1   of the Dragon games through identical marketing channels in direct competition with the Dragon
 2   Link games, such as through EGM placements in casinos, including casinos that also feature
 3   Dragon Link, and in digital format for playing on the internet and on mobile applications.
 4                  94.     On December 19, 2022, Aristocrat notified L&W by letter of L&W’s
 5   unauthorized use of Aristocrat’s Dragon Link trade dress and copyrights in connection with Jewel
 6   of the Dragon, and asked L&W to cease such use. The parties engaged in discussions over several
 7   months, but no resolution was reached.
 8                  95.     L&W’s unauthorized use of the Dragon Link Audiovisual Elements and the
 9   Dragon Link Trade Dress continues.
10                  3.      Dragon Train
11                  96.     After copying the Dragon Link name and audiovisual and design elements,
12   L&W’s next move was to copy Dragon Link’s signature game elements and gameplay.
13                  97.     In August 2023, at the Australian Gaming Expo, L&W launched in
14   Australia a game called DRAGON TRAIN that was apparently designed and developed by Emma
15   Charles. On information and belief, Dragon Train is an attempt to mimic many of the unique game
16   mechanics of Dragon Link, including the underlying math and functionality. Both Dragon Link
17   and Dragon Train feature Asian-inspired dragon themes, including by using a large red and gold
18   swirling dragon. Both games also use DRAGON as the first word of a two-word game name and
19   contain a number of visual similarities. But the similarities between Dragon Link and Dragon
20   Train go far beyond appearances. Both Dragon Link and Dragon Train are multi-denomination
21   games, meaning players can bet different amounts of money. Both allow bets in the following
22   denominations: 1 cent, 2 cents, 5 cents, 10 cents, $1, and $2. And both utilize a 3 x 5 reel grid
23   (i.e., five reels, each of which consist of three visible symbol positions).
24                  98.     Dragon Link and Dragon Train also have very similar symbol sets,
25   including five royal symbols, four “picture” symbols, a scatter symbol, a wild symbol, and a “Hold
26   & Spin” bonus symbol.
27                  99.     Video slot machine games typically feature a “pay table,” which provides
28   an overview of payout amounts and win conditions for the various symbols that appear on the

                                                       32
        Case 2:24-cv-00382-GMN-MDC              Document 1        Filed 02/26/24      Page 34 of 51




 1   reels. The Dragon Link and Dragon Train pay tables are highly similar. For example, the images
 2   below show the pay tables for both games’ 10-cent bets.
 3

 4

 5

 6

 7

 8

 9
10

11                                    Dragon Link 10-cent pay table
12

13

14

15

16

17

18
19

20                                   Dragon Train 10-cent pay table
21

22                  100.    Both of these pay tables feature the identical payout amounts and win
23   conditions, with the sole exception being one small difference in the first bullet point below:
24                      i. A “scatter” symbol that pays out when it appears 5, 4, or 3 times. The
25                          amounts paid out are nearly identical: 5 symbols pay 100, 4 pay 15 (Dragon
26                          Link) or 10 (Dragon Train), and 3 pay 2.
27                      ii. Both feature a “substitute” (or wild) symbol that can appear on reels 2, 3, 4,
28                          and 5 only.

                                                      33
        Case 2:24-cv-00382-GMN-MDC        Document 1       Filed 02/26/24        Page 35 of 51




 1                iii. Both feature one picture symbol that pays out 150 when it appears 5 times,
 2                     50 when it appears 4 times, 10 when it appears 3 times, and 2 when it
 3                     appears 2 times.
 4                iv. Both feature one picture symbol that pays out 100 when it appears 5 times,
 5                     30 when it appears 4 times, and 5 when it appears 3 times.
 6                 v. Both feature two picture symbols that pay out 100 when they appear 5 times,
 7                     25 when they appear 4 times, and 5 when they appear 3 times.
 8                vi. Both feature one royal symbol that pays out 75 when it appears 5 times, 20
 9                     when it appears 4 times, and 5 when it appears 3 times.
10                vii. Both feature four royal symbols that pay out 50 when they appear 5 times,
11                     10 when they appear 4 times, and 5 when they appear 3 times.
12              101.   As a further example, the images below show the pay tables for the games’
13   $1 bets.
14

15

16

17

18
19

20

21
                                   Dragon Link $1 pay table
22

23

24

25

26

27

28

                                               34
        Case 2:24-cv-00382-GMN-MDC           Document 1        Filed 02/26/24      Page 36 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9                                     Dragon Train $1 pay table

10

11                102.   Both of these pay tables have identical payout amounts and win conditions,
12   including:
13                   i. A “scatter” symbol that pays out when it appears 5, 4, or 3 times. The
14                       amounts paid out are identical: 5 symbols pay 100, 4 pay 10, and 3 pay 2.
15                   ii. Both feature a “substitute” (or wild) symbol that can appear on reels 2, 3, 4,
16                       and 5 only.
17                  iii. Both feature one picture symbol that pays out 250 when it appears 5 times,
18                       50 when it appears 4 times, 10 when it appears 3 times, and 3 when it
19                       appears 2 times.
20                  iv. Both feature one picture symbol that pays out 150 when it appears 5 times,
21                       30 when it appears 4 times, 5 when it appears 3 times, and 2 when it appears
22                       2 times.
23                   v. Both feature two picture symbols that pay out 100 when they appear 5 times,
24                       25 when they appear 4 times, 5 when they appear 3 times, and 2 when they
25                       appear 2 times.
26                  vi. Both feature one royal symbol that pays out 75 when it appears 5 times, 20
27                       when it appears 4 times, and 5 when it appears 3 times.
28

                                                   35
        Case 2:24-cv-00382-GMN-MDC              Document 1        Filed 02/26/24      Page 37 of 51




 1                    vii. Both feature four royal symbols that pay out 50 when they appear 5 times,
 2                          10 when they appear 4 times, and 5 when they appear 3 times.
 3                  103.    Like Dragon Link, Dragon Train features a “Hold & Spin” bonus feature.
 4   The two games’ “Hold & Spin” features are functionally (and visually) similar, following nearly
 5   identical rules. In both games, six or more golden orb symbols trigger the “Hold & Spin” feature,
 6   which awards the player three free games. The orbs are held in place as the player enters the
 7   feature. Any additional orbs that appear during the feature are also held, and the number of spins
 8   resets to three each time a new orb lands on the reels. The orbs that appear on the reels display the
 9   bonus names and amounts as they appear, and a large golden orb in the upper display shows the
10   number of orbs collected and the number of orbs required to win the Grand Jackpot (fifteen in both
11   games). At the end of the feature, the value of each of the held orbs is counted, with an electrical
12   bolt (in Dragon Train) or a flame (in Dragon Link) connecting each orb to a win meter that appears
13   underneath the word “WINNER” in the upper display. In addition to the Grand Jackpot, there is
14   an option to win a Major Jackpot, a Minor Bonus, and a Mini Bonus during the feature. In both
15   games, if a player is playing a 1-cent, 2-cent, 5-cent or 10-cent denomination, the values on the
16   orbs are displayed in credit prizes. If the player is playing a $1 or $2 denomination, the values on
17   the orbs changes to dollar prizes.
18
19

20

21

22

23

24

25

26

27

28

                                                      36
        Case 2:24-cv-00382-GMN-MDC            Document 1       Filed 02/26/24     Page 38 of 51




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11
              Dragon Link Hold & Spin                          Dragon Train Hold & Spin
12

13                 104.    In both games, a Coin Shower animation occurs with any win of 25 (or

14   more) times the bet made during the base game, free games, or Hold & Spin feature. In both games

15   the coin image is an ancient Chinese coin, with a square shaped hole and 4 Chinese characters.

16   The similarities are evident from the images below:

17

18
19

20

21

22

23

24

25

26
             Dragon Link Winner screen                        Dragon Train Winner screen
27

28

                                                   37
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24     Page 39 of 51




 1                  105.   Also like Dragon Link, Dragon Train includes a separate free games feature
 2   that is triggered when three or more scatter symbols appear on the reels.
 3                  106.   Dragon Train also offers players a set of tiered jackpots or bonuses closely
 4   resembling those in Dragon Link, including a Grand Jackpot, Major Jackpot, Minor Bonus, and
 5   Mini Bonus, even featuring identical colors for three of the jackpots or bonuses. Both games have
 6   the same win conditions for the Grand and Major Jackpots.
 7

 8

 9
10

11

12
                Dragon Link attract screen                         Dragon Train attract screen
13

14                  107.   In addition to the substantially similar symbol set, pay tables, game rules,
15   and game features, including similar “Hold & Spin” and free games bonus features, Dragon Train
16   is, on information and belief, an attempt to replicate Dragon Link’s underlying math and
17   functionality that provides the game’s unique “feel.” As explained further above, the “feel”
18   includes how players experience the underlying math of a game, such as the game’s volatility—
19   i.e., how often a game pays out prizes and the amounts of those prizes. Achieving the right feel is
20   critical to a successful game, and is what attracts and retains player engagement above and beyond
21   flashy visual elements. It results from the detailed, complex, and highly confidential math and
22   functionality that govern the game’s outcomes.
23                  108.   The underlying math and functionality of a game, and the resulting feel of
24   the game, distinguish video slot machine games from one another that otherwise share audiovisual
25   elements, and is frequently the reason why some games are successful while other visually similar
26   games are not. The success of Lightning Link and Dragon Link are due in part to their unique feel.
27   There have been dozens of unsuccessful competitors that have offered “Hold & Spin” games, some
28

                                                      38
        Case 2:24-cv-00382-GMN-MDC             Document 1       Filed 02/26/24     Page 40 of 51




 1   of which incorporate visually similar elements (including L&W’s Jewel of the Dragon), but failed
 2   because they did not achieve a comparable feel.
 3                  109.    Successful replication of the player experience and “feel” of a game,
 4   especially one as complex as Dragon Link or Lightning Link, requires mimicry of many different
 5   components of the game mechanics (e.g., the composition of reel strips and symbols;
 6   combinations, pathways, and probabilities for winning or triggering particular outcomes;
 7   assignment of payouts per win; overall volatility; RTP; the methodology underlying the operation
 8   of the base and bonus games) that turn on sophisticated underlying game math and functionality,
 9   as further described above. Merely copying the public-facing aspects of a game would be unlikely
10   to produce a cohesive, functional game that could operate in the same way and provide the same
11   player experience as the original.
12                  110.    The complex and interrelated game mechanics underlying sophisticated
13   games like Dragon Link and Lightning Link are carefully designed, calibrated, and operationalized
14   to provide a seamless, attractive, and engaging player experience—including, for example, how
15   high-stakes a game appears to players, how exciting each player decision can be, how often a
16   player interacts with particular features or bonus games triggered on specific conditions, how
17   satisfying a player finds the frequency and amount of rewards, and how incentivized the player
18   feels to continue playing and coming back to the game time after time—that cannot plausibly be
19   reproduced by luck or accident.
20                  111.    Dragon Train appears to replicate the experience or “feel” of Aristocrat’s
21   Dragon Link and Lightning Link games to an unusual degree. As noted above, Dragon Train has
22   substantially similar functional elements, including the symbol sets, pay tables, game rules, and
23   bonus features, including the “Hold & Spin” and free games features. Further, the game appears
24   to have a highly similar mathematical implementation, resulting in similar gameplay experiences.
25   For example, Dragon Train appears to have similar volatility, and the Hold & Spin bonus symbols
26   seem to appear on the reels with similar frequency. Dragon Train also appears to implement the
27   Hold & Spin feature in a similar way as Dragon Link and Lightning Link. On information and
28   belief, and against the backdrop of L&W’s seriatim efforts to piggyback on the success of Dragon

                                                    39
          Case 2:24-cv-00382-GMN-MDC            Document 1       Filed 02/26/24     Page 41 of 51




 1   Link, L&W could only have achieved this degree of similarity with Dragon Link’s gameplay by
 2   use of Aristocrat’s trade secrets.
 3                   112.   The many similarities between the games, including the copied feel, are no
 4   surprise, given that, on information and belief, Dragon Train was the first game to be designed and
 5   developed by a new L&W studio, Star Studio, that is led by former Aristocrat game designer Emma
 6   Charles. As described supra, paragraph 65, Ms. Charles previously worked for Aristocrat for
 7   many years, including working on both Dragon Link and its predecessor, Lightning Link. As part
 8   of that work, Ms. Charles had access to the Lightning Link and Dragon Link mathematical models,
 9   and worked extensively on Lightning Link’s and Dragon Train’s underlying mathematics and
10   technical specifications. Under Ms. Charles’s employment contract with Aristocrat, she was
11   restrained from disclosing, or using, facilitating or allowing others to use, Aristocrat’s trade
12   secrets, secret formulae, game designs and game specifications.
13                   113.   Also working as a member of the Star Studio team was Lloyd Sefton, who,
14   as described supra, paragraph 67, is a former Aristocrat artist who also worked on Lightning Link
15   and Dragon Link alongside Ms. Charles and had access to confidential information about these
16   games.
17                   114.   On information and belief, Ms. Charles and/or Mr. Sefton used Aristocrat’s
18   confidential information in developing Dragon Train, including information concerning the
19   underlying math and functionality of Lightning Link and Dragon Link (e.g., pay tables,
20   combination/PAR sheets, reel strips, mathematical spreadsheets, game specifications, and
21   methodologies for the operation of the Hold & Spin bonus).
22                   115.   On information and belief, when L&W hired Ms. Charles, it knew that she
23   had been working with the highly confidential math for Lightning Link and Dragon Link. In fact,
24   as noted above, L&W has used this as a major selling point to promote her “inaugural product” for
25   L&W, Dragon Train. At a 2023 investor presentation32, Siobhan Lane, L&W’s CEO of Gaming,
26   introduced Ms. Charles as follows (emphasis added):
27
     32
28        Accessible at https://vimeo.com/855246637/748525a3d0#t=0m0s, at 27:55.


                                                     40
        Case 2:24-cv-00382-GMN-MDC             Document 1       Filed 02/26/24     Page 42 of 51




 1                  Emma Charles worked with Scott Olive on the Lightning Link
                    product for many years and she made the decision to join the Light
 2                  & Wonder team and start to run her own studio, Star Studio, out of
                    Australia. And we’re proud that Emma just this week in Australia
 3
                    launched her inaugural product under the Light & Wonder brand,
 4                  Dragon Train, you’ll see it at the Star Casino on the floor today.

 5                  116.   On information and belief, L&W was aware of and complicit in any use of
 6   Aristocrat’s confidential information by Ms. Charles and Mr. Sefton.
 7                  117.   In September 2023, Aristocrat’s Australian counsel initiated discussions
 8   with L&W in which Aristocrat shared its concerns about the misappropriation of its trade secrets
 9   in connection with Dragon Train. Aristocrat requested that L&W produce documents about the
10   design and development of Dragon Train. L&W provided some of the documents requested by
11   Aristocrat to Aristocrat’s Australian counsel. Among the documents that L&W produced are files
12   referring to “Aristocrat,” “Dragon Link,” and/or “Lightning Link.” L&W, however, refused to
13   provide other key documents, including math documents, reel strip layouts, weighting tables, and
14   source code.
15                  118.   Given L&W’s refusal to provide this key information, and based on the
16   documents L&W did produce, in December 2023, Aristocrat filed a preliminary discovery
17   proceeding in the Federal Court of Australia to seek further information from L&W.
18                  119.   On information and belief, L&W is planning to release its Dragon Train
19   game in the United States in the coming weeks or months. L&W unveiled this game to the U.S.
20   market at the October 2023 Global Gaming Expo (“G2E”) in Las Vegas.
21                  120.   In January 2024, Aristocrat’s U.S. counsel initiated discussions with L&W
22   in which Aristocrat shared its concerns about Dragon Train’s upcoming launch in the United
23   States, again pointing to the apparent misappropriation of Aristocrat’s trade secrets. Aristocrat
24   requested the same documents sought by Aristocrat’s Australian counsel, including the documents
25   L&W already shared with Aristocrat’s Australian counsel pursuant to confidentiality undertakings.
26   L&W rejected Aristocrat’s requests and would not even give Aristocrat’s U.S. counsel access to
27   the materials L&W already turned over to Aristocrat’s Australian counsel.
28

                                                    41
        Case 2:24-cv-00382-GMN-MDC               Document 1        Filed 02/26/24      Page 43 of 51




 1                  121.     In the pre-suit correspondence, L&W did not agree to delay launch of
 2   Dragon Train in the U.S., and L&W did not deny that the launch of the game is imminent.
 3                                COUNT I
          TRADE SECRET MISAPPROPRIATION IN VIOLATION OF 18 U.S.C. § 1836
 4
                    122.     Aristocrat re-alleges and incorporates by reference all preceding
 5
     paragraphs.
 6
                    123.     As described further above, Aristocrat owned and owns valuable trade
 7
     secrets in the game mechanics of the Dragon Link and Lightning Link game series, including
 8
     without limitation the underlying game math and functionality that control the gameplay and the
 9
     timing, frequency, and amount of payouts in both the base game and bonuses (e.g., the “Hold &
10
     Spin” bonus feature).
11
                    124.     Dragon Link’s and Lightning Link’s underlying game math and
12
     functionality are not generally known to the public or in the industry. This information is
13
     particularly complex (compared to other games), is highly unique and innovative, and cannot be
14
     ascertained through proper means, including through reverse engineering by observing the public
15
     game features or by playing the games themselves.
16
                    125.     Dragon Link’s and Lightning Link’s underlying game math and
17
     functionality derive independent economic value from their secrecy insofar as they make up the
18
     games’ signature gameplay and “feel” and are integral to the continued commercial success and
19
     competitive advantage of the games, which Aristocrat’s competitors—including L&W—have
20
     repeatedly tried and failed to replicate.
21
                    126.     Aristocrat accordingly keeps this information highly confidential and
22
     subject to reasonable measures to protect its secrecy, including through internal practices, policies,
23
     and procedures; written agreements prohibiting the unauthorized disclosure or use of such
24
     information; regular employee training; physical and technical security measures; and, where
25
     necessary, legal action to enforce Aristocrat’s intellectual property rights throughout the world.
26
                    127.     On information and belief, as described above, L&W has acquired through
27
     improper means one or more of Aristocrat’s trade secrets embodied in the Dragon Link and
28

                                                      42
        Case 2:24-cv-00382-GMN-MDC               Document 1       Filed 02/26/24      Page 44 of 51




 1   Lightning Link games, including insofar as L&W knew or had reason to know that it had received
 2   the information from persons, including Ms. Charles and/or Mr. Sefton, who owed a duty to
 3   Aristocrat to maintain the secrecy of the information, to not disclose the information, and to not
 4   use it for the benefit of others.
 5                   128.    On information and belief, as described above, L&W has used without
 6   authorization one or more of Aristocrat’s trade secrets to develop L&W’s Dragon Train games,
 7   which L&W intentionally designed to copy and compete with Aristocrat’s Dragon Link and
 8   Lightning Link games. On information and belief, at the time of the use, L&W knew or had reason
 9   to know that it had derived the information from persons, including Ms. Charles and/or Mr. Sefton,
10   who owed a duty to Aristocrat to maintain the secrecy of the information, to not disclose the
11   information, and to not use it for the benefit of others.
12                   129.    On information and belief, as described above, absent this misappropriation
13   of Aristocrat’s trade secrets, L&W could not have replicated the signature gameplay and “feel” of
14   Dragon Link and Lightning Link to the degree it did. Moreover, absent misappropriation of
15   Aristocrat’s trade secrets, L&W would have had to invest substantially more time, effort, and
16   resources to develop even a pale imitation of these games—as other Aristocrat competitors and
17   L&W itself had previously done.
18                   130.    On information and belief, as described above, L&W’s misappropriation of
19   Aristocrat’s trade secrets has been willful, malicious, and part of a sustained and systematic effort
20   to rip off the signature elements—and free-ride on the commercial success—of Aristocrat’s
21   Dragon Link games.
22                   131.    As a direct and proximate result of L&W’s misappropriation, Aristocrat has
23   suffered—and, absent prompt injunctive relief, will continue to suffer—injury in the form of lost
24   money and market share as a result of direct competition from Dragon Train; lost goodwill and
25   brand reputation as a result of customers, players, media, and industry experts comparing Dragon
26   Link to Dragon Train; lost time and resources expended in trying to put a stop to L&W’s blatant
27   plagiarism; and a significant risk of further unauthorized dissemination of Aristocrat’s trade
28   secrets.

                                                       43
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24      Page 45 of 51




 1                                    COUNT II
                      COPYRIGHT INFRINGEMENT UNDER 17 U.S.C. § 501
 2
                    132.   Aristocrat re-alleges and incorporates by reference all preceding
 3
     paragraphs.
 4
                    133.   Aristocrat is the owner of the copyright in the Dragon Link Audiovisual
 5
     Elements.
 6
                    134.   This copyrighted work is not a United States work within the meaning of
 7
     Section 101 of the Copyright Act, 17 U.S.C. § 101, and thus is not subject to the registration
 8
     requirement of Section 411(a). Aristocrat has registered copyrights in at least certain Dragon Link
 9
     Audiovisual Elements (e.g., Reg. Nos. PA 2-422-266, PA 2-424-274, VA 2-369-827, VA 2-372-
10
     588, VA 2-372-489, VA 2-372-589). See Ex. A.
11
                    135.   On information and belief, during the development of Jewel of the Dragon,
12
     L&W had access to, and copied, the Dragon Link Audiovisual Elements.
13
                    136.   Jewel of the Dragon contains audiovisual elements (including artwork,
14
     sounds, and animations) that are substantially and strikingly similar to, and copy protectable
15
     expression from, the Dragon Link Audiovisual Elements.
16
                    137.   L&W reproduced, publicly distributed, publicly performed, and publicly
17
     displayed these copied audiovisual elements in the course of developing, promoting, offering, and
18
     selling or leasing Jewel of the Dragon, without Aristocrat’s authorization.
19
                    138.   L&W’s conduct infringes upon Aristocrat’s exclusive rights granted by
20
     Section 106 of the Copyright Act, 17 U.S.C. § 106, to reproduce, prepare derivative works of,
21
     publicly display, publicly perform, and distribute its copyrighted works to the public.
22
                    139.   L&W’s conduct constitutes copyright infringement under Section 501 of
23
     the Copyright Act, 17 U.S.C. § 501. Dragon Link includes a copyright notice in screens viewable
24
     to all players. Because L&W knew its conduct infringed Aristocrat’s copyright, or alternatively
25
     L&W acted with reckless disregard for or willful blindness to Aristocrat’s rights, L&W’s
26
     infringement is willful under Section 504 of the Copyright Act, 17 U.S.C. § 504.
27

28

                                                     44
        Case 2:24-cv-00382-GMN-MDC              Document 1       Filed 02/26/24      Page 46 of 51




 1                  140.    As a result of the copyright infringement described above, Aristocrat is
 2   entitled to relief including, but not limited to, injunctive relief, actual or statutory damages,
 3   statutory costs and attorneys’ fees, and prejudgment interest.
 4                  141.    L&W’s willful and intentional acts of copyright infringement have caused
 5   and will continue to cause irreparable injury and damage to Aristocrat. This damage cannot be
 6   quantified and, if allowed to continue, will leave Aristocrat with no adequate remedy at law.
 7   Aristocrat is entitled to preliminary and permanent injunctive relief to prevent further acts of
 8   copyright infringement, in accordance with Section 502 of the Copyright Act, 17 U.S.C. § 502.
 9                               COUNT III
          FEDERAL FALSE DESIGNATION OF ORIGIN, UNFAIR COMPETITION,
10     TRADEMARK, AND TRADE DRESS INFRINGEMENT UNDER 15 U.S.C. § 1125(a)
11                  142.    Aristocrat re-alleges and incorporates by reference all preceding
12   paragraphs.
13                  143.    The Dragon Link Trade Dress is a designation of origin that identifies
14   Aristocrat as the exclusive source of its goods, and distinguishes Aristocrat’s goods from the goods
15   of others in the marketplace.
16                  144.    The Dragon Link Trade Dress is non-functional, inherently distinctive, and
17   has secondary meaning.
18                  145.    L&W’s replicating the Dragon Link Trade Dress on its own gaming
19   machines and digital games constitutes false designation of origin, false or misleading description,
20   and/or false or misleading representation. On information and belief, L&W’s use of a confusingly
21   similar variation of the Dragon Link Trade Dress is likely to cause, and has caused, confusion or
22   mistake, or is likely to deceive others into believing that L&W’s products or commercial activities
23   are sponsored by, approved by, or otherwise affiliated with Aristocrat.
24                  146.    Such false designation, description, and/or representation constitutes unfair
25   competition and is an infringement of Aristocrat’s rights in its Dragon Link Trade Dress in
26   violation of Section 1125(a) of the Lanham Act.
27

28

                                                     45
        Case 2:24-cv-00382-GMN-MDC               Document 1        Filed 02/26/24       Page 47 of 51




 1                  147.     Aristocrat is entitled to recover L&W’s profits, any damages sustained by
 2   Aristocrat, three times the greater of such profits or damages, and the costs of this action, including
 3   attorneys’ fees and prejudgment interest. See 15 U.S.C. § 1117.
 4                  148.     L&W’s willful and intentional acts of unfair competition, false designation
 5   of origin, and false description have caused and will continue to cause irreparable injury and
 6   damage to Aristocrat’s business, and to its accumulated customer goodwill and reputation. This
 7   damage cannot be quantified and, if allowed to continue, will leave Aristocrat with no adequate
 8   remedy at law. Aristocrat is entitled to preliminary and permanent injunctive relief to prevent
 9   further acts of unfair competition, false designation of origin, and false description, and to any
10   other relief the Court deems appropriate, pursuant to 15 U.S.C. § 1116 and due to the irreparable
11   injury to Aristocrat resulting from L&W’s acts.
12                                 COUNT IV
             TRADE SECRET MISAPPROPRIATION IN VIOLATION OF NEV. REV.
13                               STAT. § 600A.030
14                  149.     Aristocrat re-alleges and incorporates by reference all preceding
15   paragraphs.
16                  150.     As described further above, Aristocrat owned and owns valuable trade
17   secrets in the game mechanics of the Dragon Link and Lightning Link game series, including
18   without limitation the underlying game math and functionality that control the gameplay and the
19   timing, frequency, and amount of payouts in both the base game and bonuses (e.g., the “Hold &
20   Spin” bonus feature).
21                  151.     Dragon Link’s and Lightning Link’s underlying game math and
22   functionality are not generally known to the public or in the industry. This information is
23   particularly complex (compared to other games), is highly unique and innovative, and cannot be
24   ascertained through proper means, including through reverse engineering by observing the public
25   game features or by playing the games themselves.
26                  152.     Dragon Link’s and Lightning Link’s underlying game math and
27   functionality derive independent economic value from their secrecy insofar as they make up the
28   games’ signature gameplay and “feel” and are integral to the continued commercial success and

                                                       46
        Case 2:24-cv-00382-GMN-MDC               Document 1        Filed 02/26/24      Page 48 of 51




 1   competitive advantage of the games, which Aristocrat’s competitors—including L&W—have
 2   repeatedly tried and failed to replicate.
 3                   153.    Aristocrat accordingly keeps this information highly confidential and
 4   subject to reasonable measures to protect its secrecy, including through internal practices, policies,
 5   and procedures; written agreements prohibiting the unauthorized disclosure or use of such
 6   information; regular employee training; physical and technical security measures; and, where
 7   necessary, legal action to enforce Aristocrat’s intellectual property rights throughout the world.
 8                   154.    On information and belief, as described above, L&W has acquired through
 9   improper means one or more of Aristocrat’s trade secrets embodied in the Dragon Link and
10   Lightning Link games, including insofar as L&W knew or had reason to know that it had received
11   the information from persons, including Ms. Charles and/or Mr. Sefton, who owed a duty to
12   Aristocrat to maintain the secrecy of the information, to not disclose the information, and to not
13   use it for the benefit of others.
14                   155.    On information and belief, as described above, L&W has used without
15   authorization one or more of Aristocrat’s trade secrets to develop L&W’s Dragon Train games,
16   which L&W intentionally designed to copy and compete with Aristocrat’s Dragon Link and
17   Lightning Link games. On information and belief, at the time of the use, L&W knew or had reason
18   to know that it had derived the information from persons, including Ms. Charles and/or Mr. Sefton,
19   who owed a duty to Aristocrat to maintain the secrecy of the information, to not disclose the
20   information, and to not use it for the benefit of others.
21                   156.    On information and belief, as described above, absent this misappropriation
22   of Aristocrat’s trade secrets, L&W could not have replicated the signature gameplay and “feel” of
23   Dragon Link and Lightning Link. Moreover, absent misappropriation of Aristocrat’s trade secrets,
24   L&W would have had to invest substantially more time, effort, and resources to develop even a
25   pale imitation of these games—as other Aristocrat competitors and L&W itself had previously
26   done.
27                   157.    On information and belief, as described above, L&W’s misappropriation of
28   Aristocrat’s trade secrets has been willful, wonton, reckless, and part of a sustained and systematic

                                                       47
        Case 2:24-cv-00382-GMN-MDC               Document 1       Filed 02/26/24       Page 49 of 51




 1   effort to rip off the signature elements—and free-ride on the commercial success—of Aristocrat’s
 2   Dragon Link games.
 3                  158.   As a direct and proximate result of L&W’s misappropriation, Aristocrat has
 4   suffered—and, absent prompt injunctive relief, will continue to suffer—injury in the form of lost
 5   money and market share as a result of direct competition from Dragon Train; lost goodwill and
 6   brand reputation as a result of customers, players, media, and industry experts comparing Dragon
 7   Link to Dragon Train; lost time and resources expended in trying to put a stop to L&W’s blatant
 8   plagiarism; and a significant risk of further unauthorized dissemination of Aristocrat’s trade
 9   secrets.
10                                COUNT V
       DECEPTIVE TRADE PRACTICES UNDER NEV. REV. STAT. §§ 41.600 & 598.0915
11

12                  159.   Aristocrat re-alleges and incorporates by reference all preceding

13   paragraphs.

14                  160.   By copying Aristocrat’s Dragon Link Trade Dress, L&W knowingly made

15   false representations as to the source, sponsorship, approval and/or certification of goods or

16   services for sale or lease—namely, its Jewel of the Dragon game.

17                  161.   As the direct and proximate result of L&W’s deceptive conduct, Aristocrat

18   has suffered, and will continue to suffer, monetary damages and irreparable injury to its business,

19   reputation and goodwill.

20                                    DEMAND FOR JURY TRIAL

21                  Aristocrat demands a trial by jury on all issues raised in this action that are so

22   triable.

23                                          RELIEF SOUGHT

24                  Aristocrat seeks the following relief:

25                  1.     That L&W be preliminarily and permanently enjoined from all trade secret
26   misappropriation, copyright infringement, false designation of origin, unfair competition, and
27   trade dress infringement.
28

                                                      48
        Case 2:24-cv-00382-GMN-MDC                 Document 1      Filed 02/26/24   Page 50 of 51




 1                    2.    That L&W be ordered to refrain from any use or disclosure of Aristocrat’s
 2   trade secrets.
 3                    3.    That L&W be required to sequester and destroy any Aristocrat trade secrets,
 4   identify all individuals and entities to whom L&W has disclosed such trade secrets, and make best
 5   efforts to recover all copies of such trade secrets so disclosed.
 6                    4.    That L&W be required to deliver to Aristocrat any and all packaging, labels,
 7   displays, advertising or other materials in L&W’s possession, or under its control, that include or
 8   infringe any of Aristocrat’s copyrights or trade dress rights.
 9                    5.    That L&W be required to give Aristocrat a complete list of parties to whom
10   it has sold, offered to sell, provided or offered to provide, directly or indirectly, any goods or
11   services that infringe Aristocrat’s rights.
12                    6.    That L&W be directed to file with this Court, and serve upon Aristocrat
13   within thirty (30) days after the entry of an injunction, a written report under oath detailing the
14   manner and form in which L&W has complied with the injunction.
15                    7.    That Aristocrat recover all damages suffered from L&W’s acts, including
16   any available punitive damages, federal or state statutory damages, or actual damages, and L&W’s
17   profits.
18                    8.    That L&W be required to account for and disgorge any profits or other
19   monetary or tangible benefits received as a result of its misappropriation and infringement.
20                    9.    That any damages and profits be enhanced in accordance with 15 U.S.C. §
21   1117, 17 U.S.C. § 504, 18 U.S.C. § 1836, Nevada Revised Statute § 600A.050, and other
22   applicable federal and state law.
23                    10.   That Aristocrat recover pre-judgment and post-judgment interest.
24                    11.   That Aristocrat recover its reasonable attorney fees, costs and
25   disbursements in accordance with 15 U.S.C. § 1117, 17 U.S.C. § 505, 18 U.S.C. § 1836, Nevada
26   Revised Statutes §§ 41.600 and 600A.060, and other applicable federal and state law.
27

28

                                                       49
        Case 2:24-cv-00382-GMN-MDC           Document 1       Filed 02/26/24      Page 51 of 51




 1                12.    That Aristocrat recover such other relief as the Court deems just and proper.
 2

 3   February 26, 2024                          Respectfully submitted,
 4                                              /s/ Jason D. Smith
                                                NICHOLAS J. SANTORO
 5
                                                (Nevada Bar No. 532)
 6                                              JASON D. SMITH
                                                (Nevada Bar No. 9691)
 7                                              HOLLEY DRIGGS LTD
                                                300 South 4th Street, Suite 1600
 8                                              Las Vegas, Nevada 89101
 9                                              Tel.: (702) 791-0308
                                                Email: nsantoro@nevadafirm.com
10                                                      jsmith@nevadafirm.com

11                                              PETER SWANSON
                                                (pro hac vice forthcoming)
12                                              GARY RUBMAN
13                                              (pro hac vice forthcoming)
                                                SIMEON BOTWINICK
14                                              (pro hac vice forthcoming)
                                                COVINGTON & BURLING LLP
15                                              One CityCenter
                                                850 Tenth Street, NW
16                                              Washington, DC 20001
17                                              Tel.: (202) 662-6000
                                                Email: pswanson@cov.com
18                                                      grubman@cov.com
                                                        sbotwinick@cov.com
19
                                                ZIWEI SONG
20
                                                (pro hac vice forthcoming)
21                                              COVINGTON & BURLING LLP
                                                Salesforce Tower
22                                              415 Mission Street, Suite 5400
                                                San Francisco, CA 94105-2533
23                                              Tel.: (415) 591-6000
                                                Email: ksong@cov.com
24
                                                Attorneys for Plaintiffs Aristocrat Technologies, Inc.
25                                              and Aristocrat Technologies Australia Pty Ltd.
26

27

28

                                                  50
